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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                 Plaintiff and Counterclaim
                 Defendant,
                                                       Case No. 1:19-CV-11438-PBS
       v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                 Defendant and Counterclaim
                 Plaintiff




                  OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S
                        UNOPPOSED MOTION TO IMPOUND

       Defendant and Counterclaim Plaintiff Omilia Natural Language Solutions, Ltd. (“Omilia”)

hereby moves pursuant to Local Rule 7.2 for entry of an order authorizing Omilia to file under seal

the following document:

           Exhibit B to the Declaration of Hallie Kiernan (publicly filed under seal in its entirety)

           Exhibit F to the Declaration of Hallie Kiernan (unredacted)

As the grounds for this motion, Omilia states the following:

       1.      On February 7, 2020 this Court entered the Stipulated Protective Order for

Litigation Involving Highly Sensitive Confidential Information and/or Trade Secretes (“Protective

Order”). Dkt. No. 59.

       2.      Section 15.4 of the Protective Order provides that any party seeking to file

“Protected Material” under seal “must comply with the Court’s Standing Order.” “Protected

Material” is defined in the Protective Order as any Disclosure or Discovery Material that is

designated as “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES



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ONLY” or as “HIGHLY CONFIDENTIAL – SOURCE CODE.” Moreover, “Protected Material

may only be filed under seal pursuant to a court order authorizing the sealing of the specific

Protected Material at issue.”

       3.      Some of the exhibits to Omilia’s Motion for Reconsideration of the Court’s Partial

Denial of Omilia’s Motion to Supplement its Preliminary Non-Infringement and Invalidity

Contentions are designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” By

designating information “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Omilia

has indicated that the information is “extremely sensitive ‘CONFIDENTIAL’ information or

Items, disclosure of which to another Party or Non-Party would create a substantial risk of serious

harm that could not be avoided by less restrictive means.” Protective Order § 2.9.

       4.      “A party seeking to file a document under seal must demonstrate that ‘good cause’

exists to do so.” Dunkin Donuts Franchised Restaurants, LLC v. Agawam Donuts, Inc., No.

CIV.A. 07-11444-RWZ, 2008 U.S. Dist. LEXIS 10542, at *1 (D. Mass. Feb. 13, 2008). There is

a long standing presumption in the public’s right to access court documents. See, e.g., Nixon v.

Warner Communications, Inc., 435 U.S. 589, 597 (1978). What is good cause depends on the

circumstances of the filing, for instance there is no public right of access to unfiled discovery

documents. Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32-36 (1984). The presumption of public

access may be overcome if the filing is related to issues that are not traditionally guaranteed the

right of public access, like motions about discovery matters. See Anderson v. Cryovac, Inc., 805

F.2d 1, 13 (1st Cir. 1986) (“There is no tradition of public access to discovery, and requiring a trial

court to scrutinize carefully public claims of access would be incongruous with the goals of the

discovery process”). The existence of trade secret or sensitive competitive business information

can overcome a presumption of public access. See Nixon, 435 U.S. at 598; see also Baxter Int’l,




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Inc. v. Abbott Labs., 297 F.3d 544, 547 (7th Cir. 2002) (listing trade secrets, privilege, and

information required by statute to be kept secret as permissible bases to seal documents).

       5.      Omilia requests that an impounding Order be issued and that it remain in effect

until such time that it be lifted by further order of the Court, and that following the post-

impoundment period, the document be returned to Omilia’s custody.

       6.      Omilia’s counsel conferred with counsel for Nuance regarding this motion, and

Nuance’s counsel stated that it does not oppose Omilia’s Motion to Impound.

       WHEREFORE, pursuant to Local Rule 7.2 and the Stipulated Protective Order, Omilia

respectfully requests that this Court enter an order granting leave to file under seal and impounding

the documents and information described above until further order of the Court. In the event this

Court has not previously ordered otherwise, Omilia’s submission should be returned to its

undersigned counsel upon resolution of this matter.




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Dated:    November 18, 2020                Respectfully Submitted,



                                           By /s/ Daniel S. Sternberg___

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                        LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that the parties conferred on November 17, 2020 on this motion via email

and Nuance Communications Inc. did not oppose this motion.



                                            /s/ Daniel S. Sternberg
                                            Daniel S. Sternberg




                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on November 18, 2020, with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5.4 (c).

                                              /s/ Daniel S. Sternberg
                                              Daniel S. Sternberg




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